 Case:18-05288-EAG11 Doc#:158 Filed:03/28/19 Entered:03/28/19 14:28:04      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                  CASE NO. 18-05288-BKT11
 4    SKYTEC INC                             Chapter 11

 5

 6
     XX-XXXXXXX
 7
                   Debtor(s)                      FILED & ENTERED ON MAR/28/2019
 8

 9                                        ORDER

10         I hereby disqualify myself from this case. The Clerk shall reassign this

11   case to another judge.

12         IT IS SO ORDERED.

13         In San Juan, Puerto Rico, this 28 day of March, 2019.

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